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  8                          UNITED STATES DISTRICT COURT
  9                         SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF AMERICA,                             CASE NO. 09CR2519WQH
 12                                       Plaintiff,         ORDER
            vs.
 13    CLEOFAS RAQUEL VILLAREAL
       QUINONEZ (1),
 14
                                        Defendant.
 15
      Hayes, Judge:
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            The matter before the Court is the Request for a 4 level reduction for fast track filed by
 17
      the Defendant. (ECF No. 184). On January 27, 2012, this Court entered a Judgment
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      committing the Defendant to the custody of the United States Bureau of Prisons to be
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      imprisoned for a term of eighty (80) months. This Court has no jurisdiction to correct or
 20
      modify criminal judgment at this stage in the proceedings. See, Rule 35(a) of the Federal
 21
      Rules of Criminal Procedure. Defendant’s request for a 4 level reduction for fast track (ECF
 22
      No. 184) is denied.
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 24   DATED: January 29, 2013
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                                                   WILLIAM Q. HAYES
 26                                                United States District Judge
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